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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


UNITED STATES


                       v.            No. 21-cv-11300-DLC

PETER MCCARTHY,
STEPS TO SOLUTIONS, INC.

                 Defendants.



             MEMORANDUM AND ORDER ON POST-TRIAL MOTIONS


CABELL, U.S.M.J.

I.   Introduction

     Defendant Peter McCarthy (“McCarthy”) at all relevant times

owned and operated a group of sober-living homes known as Steps to

Solutions,   Inc.   (“Steps    to   Solutions”).      Contending     that    he

repeatedly harassed prospective and actual female tenants for

sexual favors, the government sued McCarthy and his business for

violation of the Fair Housing Act (“FHA”), 42 U.S.C. § 3614.

Following a trial at which multiple witnesses testified, a jury

returned a verdict in the government’s favor and awarded several

victims various amounts totaling $3,805,000 in compensatory and

punitive damages.

     Both parties have moved for post-trial relief. McCarthy moves

for remittitur to reduce the overall damages award by almost 90
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percent, to $450,000, leaving it to the court to determine how

each victim’s damages award should be modified. 1                 The government

moves for injunctive relief to deter future violations and for the

imposition of civil penalties.            For the reasons explained below,

each motion is granted in part and denied in part.


II.   Analysis

      A. The Defendant’s Motion for Remittitur

      The jury awarded a total of $3,085,000 to seven victims whose

encounters with McCarthy were described through direct testimony

or the testimony of others.         McCarthy argues that this amount was

grossly    excessive;    the    government     counters    that    it   was      not.

Ultimately, the court agrees that some of the amounts awarded were

grossly excessive and they therefore shall be reduced, lowering

the overall damages award to $1,420,000.

      Legal Framework

      When    considering       motions    for    remittitur,       courts        are

“oblig[ated] to review the evidence in the light most favorable to

the prevailing party.”         Wortley v. Camplin, 333 F.3d 284, 297 (1st


1
 McCarthy's motion for remittitur references Fed. R. Civ. P. 59 but it does
not specify whether it pertains to Rule 59(a), which governs requests for a
new trial, or Rule 59(e), which relates to motions to alter or amend a
judgment. As the motion is titled "Defendant's Motion for Remittitur," and
such motions are typically classified under Rule 59(e), the court treats the
motion as filed pursuant to Rule 59(e). See, e.g., Hearts with Haiti, Inc.
v. Kendrick, 141 F.Supp.3d 99, 112 (D. Me. 2015) (acknowledging that Rule
59(e) says “to alter or amend,” but referring to the motion as one for
remittitur).
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Cir. 2003).     A defendant seeking remittitur needs to do more than

show that a damages award appeared to be generous; he must show

that the award was “grossly excessive, inordinate, shocking to the

conscience of the court, or so high that it would be a denial of

justice to permit it to stand.”               E. Mountain Platform Tennis v.

Sherwin Williams Co., Inc., 40 F.3d 492, 502 (1st Cir. 1994);

Correa, 69 F.3d at 1197, 1198 (defendant not entitled to remittitur

absent a showing of a grossly excessive award).

     There is no bright-line per se rule for determining whether

an award is excessive.       Rather, excessiveness is “often in the eye

of the beholder.”      Correa v. Hosp. San Francisco, 69 F.3d 1184,

1197 (1st Cir. 1995).       Compensatory damages awards are notoriously

hard to quantify in the absence of tangible losses, and for this

reason, the jury is afforded significant deference in their award

amounts.   Wagenmann v. Adams, 829 F.2d 196, 216-217 (1st Cir.

1987); Milone v. Moceri Family, Inc., 847 F.2d 35, 37-38 (1st Cir.

1988).     It    is   not   an    exact       science,   and   “translating       [a

plaintiff’s] pain, suffering, and anguish into dollars . . . is a

matter largely within the jury’s ken.”              Correa, 69 F.3d at 1197.

As such, the court cannot “sit as a super-juror, free to disregard

the considered verdict of a properly instructed jury merely because

he disagrees with it or would have found otherwise in a bench



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trial.”     Azimi v. Jordan’s Meats, Inc., 456 F.3d 228, 236 (1st

Cir. 2006).

     Even so, the inherent difficulty in determining award amounts

does not render the awards unreviewable.           Gardner v. Simpson Fin.

Ltd. P’ship, 963 F.Supp.2d 72, 88 (D. Mass. 2013).              The Due Process

clause     of   the   Constitution’s       Fourteenth    Amendment       imposes

substantive limits on the amount of punitive damages that may be

imposed.    See e.g., TXO Prod. Corp. v. All. Res. Corp., 509 U.S.

443, 453-454 (1993) (“several of our opinions have stated that the

Due Process Clause of the Fourteenth Amendment imposes substantive

limits ‘beyond which penalties may not go.’”) (collecting cases);

BMW of N. Am., Inc. v. Gore, 517 U.S. 559, 562 (1996).                  The same

protections apply with equal force to federal court defendants

through the Fifth Amendment.       See United States v. Neto, 659 F.3d

194, 201 n.7 (1st Cir. 2011) (noting that “the language and

policies of the Due Process Clauses of the Fifth and Fourteenth

Amendments are essentially the same.”).

     In this context, due process requires that a defendant have

fair notice of the severity of the penalties their conduct might

incur.    Gore, 517 U.S. at 574; Amsden v. Moran, 904 F.2d 748, 753

(1st Cir. 1990) (“before a significant deprivation of liberty or

property takes place at the state’s hands, the affected individual

must be forewarned.”).       Otherwise, punitive damages become grossly

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excessive, and “[t]o the extent an award is grossly excessive, it

furthers      no    legitimate   purpose     and    constitutes       an    arbitrary

deprivation of property.”             State Farm Mut. Auto. Ins. Co. v.

Campbell, 538 U.S. 408, 417 (2003); Gore, 517 U.S. at 574-575.

Among the factors a court should consider are (1) the degree of

reprehensibility of the defendant’s conduct, (2) the ratio between

punitive damages and compensatory damages, and (3) the civil or

criminal      penalties     that    could     be     imposed        for    comparable

misconduct.         Gore, 517 U.S. at 574-575.

        The first Gore factor, reprehensibility, is in practice often

a   court’s    primary     concern,    see   Gore,     517   U.S.     at    575,    and

encompasses a consideration of various factors, including: (1) the

nature of the harm (physical versus economic), (2) whether the

conduct demonstrates “indifference to or reckless disregard [for]

the health and safety of others[,]” (3) whether the victim was

financially vulnerable, (4) whether the conduct was an isolated

incident or involved repeated actions, and (5) whether the harm

resulted from “intentional malice, trickery, or deceit, or mere

accident.”         Quigley v. Winter, 598 F.3d 938, 954 (8th Cir. 2010).

        Regarding the second factor, the ratio between punitive and

compensatory damages, courts must ensure that punitive damages

“bear     a   reasonable      relationship      to     compensatory         damages,”

understanding that what constitutes a “reasonable relationship”

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may differ depending on the case.               Gore, 517 U.S. at 580; Quigley,

598 F.3d at 954.           There is no bright-line rule delineating a

constitutionally acceptable ratio, but precedent instructs that a

ratio of four to one is “close to the line” of impropriety.

Campbell, 538 U.S. at 425 (citing Pac. Mut. Life Ins. Co. v.

Haslip,    499    U.S.    1,   23-24      (1991);    Gore,       517     U.S.   at   581.);

Zimmerman v. Direct Fed. Credit Union, 262 F.3d 70, 82 (1st Cir.

2001).     Further, “when compensatory damages are substantial, then

a lesser ratio, perhaps only equal to compensatory damages, can

reach the outermost limit of the due process guarantee.” Campbell,

538 U.S. at 425.

     Finally, concerning notice of the scope of penalties that may

be imposed for comparable conduct, it bears noting that the FHA

permits courts to impose civil penalties of up to $50,000 for a

violation    of   the     FHA,     with   penalties        of    up    to    $100,000      for

subsequent violations.           42 U.S.C. § 3614(d)(1)(B).

     The     First       Circuit     provides       that        courts      fashioning      a

remittitur comport with the “maximum recovery rule,” which permits

a remittance to the “highest reasonable total of damages for which

there is adequate evidentiary support.”                    Marchant v. Dayton Tire

& Rubber Co., 836 F.2d 695 (1st Cir. 1988).                        Alternatively, the

court may order a plenary new trial, or a new trial limited to the

issue of damages if it finds that the damages award resulted from

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“passion and prejudice so virulent as to nullify the verdicts

entirely.”     Fed. R. Civ. P. 59(a); Wagenmann, 829 F.2d at 216-217.

     Applying these principles here, the court does not believe a

new trial, even one limited to damages, is warranted, but does

find that various awards were inordinately high and should be

reduced.

         Discussion

     The jury awarded damages to seven victims as follows: (1)

Carrie   Ann    MacDougall,   $105,000       in    compensatory      damages      and

$525,000   in    punitive    damages;       (2)   Jill   Lovely,     $115,000      in

compensatory damages and $125,000 in punitive damages; (3) Mindy

Mangini, $300,000 in compensatory damages and $875,000 in punitive

damages; (4) Amanda Manning, $300,000 in compensatory damages and

$875,000   in    punitive    damages;       (5)   Lauren    Masse,    $50,000      in

compensatory damages and $25,000 in punitive damages; (6) Kelli

Yeo, $150,000 in compensatory damages and $325,000 in punitive

damages; and (7) Michael Fromer, $10,000 in compensatory damages

and $25,000 in punitive damages.

     As a threshold matter, McCarthy contends that none of the

awards are justified because the government failed to prove that

he violated any victim’s rights under the FHA.                Viewing this as a

challenge to the sufficiency of the evidence, the court finds that

the defendant has waived the argument because he did not raise it

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in a timely motion for judgment as a matter of law or in a motion

for a new trial.      The defendant did move for judgment as a matter

of law but the court denied the motion as untimely without reaching

any of the arguments on the merits.           (D. 144).

      Against that backdrop, the court reviews each award in turn.

      1. Carrie Ann MacDougall

      Per her testimony, MacDougall resided at Steps to Solutions

from December 2018 to February 2019.            About one month into her

stay, McCarthy obtained MacDougall’s phone number from her intake

paperwork and contacted her via text message.             McCarthy repeatedly

asked MacDougall for sexually explicit photos, which she provided

because she feared she otherwise might be evicted, which would

also violate a condition of her probation.                McCarthy also made

inappropriate comments about MacDougall’s body, gave her unwanted

hugs, and (unsuccessfully) propositioned her for sex.               McCarthy’s

conduct caused MacDougall to leave Steps to Solutions.                 Tr.2:19-

63.

      The jury awarded MacDougall $105,000 in compensatory damages

and $525,000 in punitive damages. McCarthy argues that the overall

amount is excessive because MacDougall did not testify about her

actual damages. The court disagrees. Compensatory damages include

intangible harms and MacDougall testified about the emotional

distress the defendant’s conduct caused her.              She also testified

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that she left the home in Lynn because McCarthy’s escalating

behavior made her feel “dirty”.          Her testimony also fairly allowed

for    an   inference    that    she   was   at    the   very       least   extremely

uncomfortable with McCarthy’s sexual advances, hugs, and requests

for sexually explicit pictures, given that she left because of his

behavior and reported him to her doctor.                 In short, a jury could

reasonably conclude from this evidence that McCarthy’s actions

caused      MacDougall    significant        emotional      distress.           Though

generous, the compensatory damages award here is not so high that

it is “grossly excessive, inordinate, shocking to the conscience

of the court, or so high that it would be a denial of justice to

permit it to stand.”            Currier v. United Techs. Corp., 393 F.3d

246, 256 (1st Cir. 2004).          For that reason, it stands.

       Conversely, the court finds that the punitive damages award

of $525,000 should be reduced to comport with the principles noted

above. Gore, 517 U.S. at 574-575.              To be sure, the court agrees

that    McCarthy’s    actions     were   reprehensible.             He   intruded     on

MacDougall’s      privacy   by     taking    her    phone    number       off   intake

paperwork and then repeatedly solicited her for sexual pictures

and    other   inappropriate       sexual    requests.        This       conduct     was

undeniably intentional and showed clear disregard for MacDougall’s

mental state and sobriety.          However, the court does not think the

conduct was so reprehensible as to validate an award five times

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higher than the compensatory award in light of the remaining Gore

factors, which suggest that an award equal to one or two times the

compensatory award would be more appropriate.                      Accordingly, the

court will reduce the punitive damages to MacDougall to $105,000,

equal to what she was awarded for compensatory damages, for a total

award of $210,000.

     2. Jill Lovely

     Jill Lovely (“Lovely”) was at Steps to Solutions from May

2021 to September 2021.           She testified that McCarthy frequently

made comments about her body and made her uncomfortable. He placed

his hand on her thigh and her buttocks on two different occasions

and solicited sexually explicit pictures (which she never sent).

Lovely   left   the   home   in    response       to   this   conduct      and   never

retrieved or was returned her personal belongings.                        Tr.1:26-53.

The jury awarded her $115,000 in compensatory damages and $125,000

in punitive damages.

     The court leaves the compensatory damages untouched.                            The

award arguably is high but does not “exceed any rational appraisal

or estimate of the damages that could be based upon the evidence

before it.”     Gardner, 963 F.Supp.2d at 87.               Along with testimony

evincing emotional distress, the jury could have considered the

economic   loss   Lovely     suffered        on   account     of    her   unreturned

belongings.

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     The punitive damages award of $125,000, however, will be

reduced    to    $60,000.      McCarthy’s      conduct    was,    to   be    sure,

reprehensible where the evidence showed he subjected Lovely to

unwelcome       physical    contact    and    solicited    sexually     explicit

pictures.        That said, there was no evidence that Lovely was

financially vulnerable, or that McCarthy demanded these favors in

exchange for Lovely’s continued tenancy, or that his conduct

evinced “intentional malice, trickery, or deceit.”                  Further, an

award of $60,000 is more in line with the amount of damages that

would be imposed for a violation of the statute.

     For    these     reasons,        the    court   leaves      untouched       the

compensatory damages award of $115,000 but reduces the punitive

damages award to $60,000, for a total of $175,000.

     3. Mindy Mangini

     Mindy Mangini (“Mangini”) stayed at Steps to Solutions for

three days in 2009, and then two months in 2013.                  She testified

that McCarthy in 2019 required her to perform oral sex in exchange

for the brief time she was there, and in 2013 negotiated an

arrangement involving at least one encounter of sexual intercourse

each month in lieu of paying rent.              Mangini testified that they

had sex according to this arrangement multiple times, which caused

her emotional distress.         She also stated that she relapsed after

she left in 2013, although she was abusing substances before she

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entered the home.    Tr.3:37-55.      The jury awarded Mangini $300,000

in compensatory damages and $875,000 in punitive damages.

     The court leaves the compensatory damages award as it is but

will reduce the punitive damages award.               Viewing the statutory

damages scheme as instructive (but not controlling), and viewing

the conduct here as evincing repeated violations of the FHA,

McCarthy reasonably was on notice that his conduct could result in

penalties of up to $150,000.       Given the reprehensibility of his

conduct -- extorting sex on multiple occasions -- an award double

that amount, and equal to the amount of compensatory damages, is

justified.

       In sum, the court declines to modify the $300,000 award of

compensatory damages but reduces the punitive damages award to

$300,000 as well, for a total of $600,000.

     4. Amanda Manning

     Amanda Manning (“Manning”) stayed at Steps to Solutions for

one day. She testified via recorded deposition video that McCarthy

demanded oral sex as payment and threatened to call her probation

officer if she refused, causing her to flee the premises.               Manning

testified    that   the   encounter        evoked   traumatic     memories      of

childhood sexual abuse and caused her to relapse after 5 years of

sobriety.    Additionally, she claimed that she has not stayed at a

sober living home since she left Steps to Solutions.              Parallelling

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the damages awarded to Mangini, the jury awarded Manning $300,000

in compensatory damages and $875,000 in punitive damages, for a

total of $1,175,000.

     In light of the principles discussed above, the court will

reduce Manning’s compensatory damages award to $50,000 and her

punitive damages award to $100,000.        McCarthy’s conduct in using

Manning’s probation status to attempt to extort sex was undoubtedly

egregious and impactful, particularly where it contributed to

Manning’s relapse.     That said, Manning’s interaction with McCarthy

was in context remarkably brief and involved no physical contact.

A compensatory award of $50,000 and a punitive award twice that

amount accords with notions of due process and proportionality.

Accordingly, the court reduces Manning’s total damages award from

$1,175,000 to $150,000.

     5. Lauren Masse

     Lauren Masse (“Masse”) resided at Steps to Solutions from

January 2017 or 2018 for a few weeks -- the record is unclear as

to the exact amount of time.      Masse passed away before trial but

her mother-in-law, Sue McGonnigal (“McGonnigal”), testified about

various phone calls she had with Masse during the relevant time

period.   During one of those calls, Masse told her that McCarthy

made her uncomfortable, which caused Masse to leave Steps to

Solutions.   The jury also heard that McGonnigal told Masse to go

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to Boston Medical Center because she was bleeding 2, and that after

Masse left Steps to Solutions, she was homeless for two weeks and

then went to a psychiatric institution for one month.                      Tr.2:93-

106.

       The   jury    awarded   Masse’s       estate   $50,000      in   compensatory

damages and $25,000 in punitive damages.              McCarthy argues that the

entire award should be set aside because the evidence at most

suggested that McCarthy made Masse uncomfortable, which could

encompass a range of lawful behavior.

       McCarthy’s argument overlooks McGonnigal’s other testimony,

from   which,       when   viewed   in   a    light   most    favorable      to     the

government, the jury could have reasonably inferred a causal

connection     between     McCarthy’s    actions      and    Masse’s     subsequent

injuries after she left the home.               To that extent, the court is

satisfied that the jury’s award of $50,000 in compensatory damages

is “within the universe of possible awards that are supported by

the evidence in this case,” and therefore declines to modify that

award.   Clark v. Taylor, 710 F.2d 4, 14 (1st Cir. 1983).

       Conversely, the court finds that the somewhat scant and

amorphous     evidence      regarding    Masse’s       interactions       with      the

defendant does not warrant the imposition of punitive damages.



2 There is no allegation or evidence that Masse’s bleeding was related to her
time at Steps to Solutions.
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Punitive damages are never awarded as of right.                 Smith v. Wade,

461 U.S. 30, 52 (1983).           Although the jury may have reasonably

inferred and found from McGonnigal’s testimony that McCarthy must

have committed some act or acts that violated Masse’s rights under

the FHA, she nonetheless did not offer any testimony about any

specific    bad    acts. 3   Hence,   the    court   cannot     assess   whether

McCarthy’s actions demonstrated an "indifference to or reckless

disregard [for Masse’s] health and safety," nor can it determine

any other factor to evaluate reprehensibility.              Gore, 517 U.S. at

576.     For that reason, the court vacates the award of punitive

damages to Masse, leaving a total award of $50,000 in compensatory

damages.

        6. Kelli Yeo

        Kelli     Yeo   (“Yeo”)     stayed     at    Steps      to    Solutions

intermittently, from 2011 to 2014, for months at a time.                        She

testified that when she missed rent payments, she sent McCarthy

explicit pictures to avoid eviction.           McCarthy did not expressly

request the photographs but Yeo believed he implicitly expected

them.     In any event, she testified that McCarthy allowed her to

stay at Steps to Solutions after receiving the pictures.                        Yeo

testified that these experiences made her feel worthless and like


3 To be clear, the government tried to elicit some evidence of specific acts

but the court excluded it as inadmissible hearsay not subject to an
exception.
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an object, and ultimately led her to relapse.               Tr.3:6-36.       The

jury awarded Yeo $150,000 in compensatory damages and $325,000 in

punitive damages.

     The court does not deem the $150,000 compensatory damage

award, although arguably high, to be so grossly excessive that it

shocks the conscience, particularly where the defendant accepted

explicit nude photos from a vulnerable tenant in lieu of rent, and

therefore declines to reduce that award.          However, the court will

reduce the punitive damages award to $50,000 in light of the Gore

factors noted above.        Again, McCarthy’s conduct in accepting

explicit pictures at times in lieu of rent was reprehensible, but

it was not as egregious as in other instances with other victims,

and an award of $50,000 also aligns with what the statute would

provide for if damages were imposed thereunder.

     Accordingly, the court will not modify the compensatory award

but will reduce the punitive damages award to $50,000, for a total

of $200,000.

     7. Michael Fromer

     Michael Fromer (“Fromer”) stayed at Steps to Solutions for at

least three months in 2018.     He testified that whenever he failed

routine drug tests, an event warranting eviction, his girlfriend

Rebecca Kennedy would have sex with McCarthy to prevent Fromer’s

eviction.      Fromer   testified   that   this    happened    on   multiple

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occasions and the arrangement made him feel “less than a man” and

“took his soul.”     The jury awarded Fromer $10,000 in compensatory

damages and $25,000 in punitive damages.          The court does not find

either amount   to    be    grossly   excessive   and     leaves    this   award

untouched.

     In sum, the court reduces the jury’s total damages award from

$3,805,000 to $1,420,000.         This award, in the aggregate, comprises

$780,000 in compensatory damages and $640,000 in punitive damages.

Specifically,   Carrie      Ann    MacDougall’s   award    is    reduced    from

$630,000 to $210,000; Jill Lovely’s award is reduced from $240,000

to $175,000; Mindy Mangini’s award is reduced from $1,175,000 to

$600,000; Amanda Manning’s award is reduced from $1,175,000 to

$150,000; Lauren Masse’s award is reduced from $75,000 to $50,000;

Kelli Yeo’s award is reduced from $475,000 to $200,000; Michael

Fromer’s award of $35,000 remains the same.

     In imposing remittitur, the court gives McCarthy the choice

to accept or reject the reduced damages award.            See D’Pergo Custom

Guitars, Inc., v. Sweetwater Sound, Inc., 111 F.4th 125, 139 n.10

(1st Cir. 2024); Bisbal-Ramos v. City of Mayaguez, 467 F.3d 16, 26

(1st Cir. 2006) (“[A] conventional remittitur . . . requires giving

the plaintiff a choice between accepting a reduced damage award

and a new trial”).     Proceeding otherwise “cannot be squared with

the Seventh Amendment.”       Hetzel v. Prince William Cnty., 523 U.S.

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208, 211-212 (1998).     If McCarthy rejects the remitted amount, a

new trial on damages must be held.              Id.; Marchant, 836 F.2d at

704.

       B. Government’s   Motion      for    Injunctive     Relief     and   Civil
          Penalties

       The government requests that the court grant an injunction

prohibiting McCarthy going forward from discriminating against

others   based   on   sex,   which    includes      coercing,     intimidating,

threatening, or interfering with housing rights in violation of

the FHA.   Going a step further, the government also asks the court

to require McCarthy to retain an independent property manager,

approved by the government, that would handle all aspects of

managing his rental properties.            The court will grant the request

for an injunction but deny the request that McCarthy hire a

monitor.

       A court may order equitable relief in the form of a permanent

injunction when the plaintiff shows:

       (1) that it has suffered an irreparable injury; (2) that
       remedies available at law, such as monetary damages, are
       inadequate to compensate for that injury; (3) that,
       considering the balance of hardships between the plaintiff
       and defendant, a remedy in equity is warranted; and (4) that
       the public interest would not be disserved by a permanent
       injunction.

       eBay Inc. v. MercExchange L.L.C., 547 U.S. 388, 391 (2006).




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     At the outset, it bears noting that Congress passed the FHA

with “broad remedial intent.”         Revock v. Cowpet Bay West Condo.

Ass’n., 853 F.3d 96, 110 (3rd. Cir. 2017).              Federal courts have

wide latitude to provide equitable relief in FHA cases, including

affirmative relief when appropriate.         E.g., United States v. West

Peachtree Tenth Corp., 437 F.3d 221, 228 (5th Cir. 1971) (holding

that § 3613 of the FHA “includes the power to grant affirmative

relief”); Metro. Hous. Dev. Corp. v. Village of Arlington Heights,

616 F.2d 1006, 1011 (7th Cir. 1980) (“Generally, and particularly

in a fair housing situation, the existence of a federal statutory

right     implies   the   existence   of    all   measures     necessary       and

appropriate to protect federal rights . . . .”); United States v.

City of Parma, 661 F.2d 566, 576 (6th Cir. 1981) (“The affirmative

provisions of the remedial order are not as unusual as [defendant]

suggests in its brief.      Most, if not all of those provisions have

been incorporated in decrees of various courts which have decided

Fair Housing Act cases.”).

        In the event of a rights violation, federal courts must employ

“all reasonable methods . . . to achieve the greatest possible

degree of relief, taking into account the practicalities of the

situation.” Hills v. Gautreaux, 425 U.S. 284, 297 (1976) (internal

citations omitted).       However, this power is not absolute.             Swann

v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 28 (1971) (“No

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fixed or even substantially fixed guidelines can be established as

to how far a court can go, but it must be recognized that there

are limits.”). A federal court must “carefully tailor” the remedy,

“limiting it to [the] relief necessary to correct the violations.”

Parma, 661 F.2d at 576.

       As encapsulated in Swann, “the task is to correct, by a

balancing      of    the   individual     and    collective       interests,        the

condition    that     offends   the     Constitution.”        402    U.S.    at     16.

Although Swann refers to constitutional violations, the same rings

true   for     FHA   violations     because     they    too   are     governed       by

traditional principles of equity.             Park View Heights Corp. v. City

of Black Jack, 605 F.2d 1033, 1036 (8th Cir. 1979); Resident

Advisory Bd. v. Rizzo, 564 F.2d 126, 149 (3rd Cir. 1977) (“Thus,

just as we must be careful to structure and limit equitable relief

in cases involving violation of constitutional rights, so too must

we be similarly cautious . . . in tailoring the remedy here to

that   which    is    necessary    to    correct   the    statutory       violation

found.”).

       Against this backdrop, the court believes it is appropriate

to permanently enjoin McCarthy from discriminating based on sex or

coercing,    intimidating,        threatening,     or    interfering      with      the

exercise of housing rights in violation of the FHA.                       The court



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also permanently enjoins McCarthy from engaging in direct contact

with current or prospective tenants.

      Given this injunction, the court does not deem it necessary

to require McCarthy to hire an independent property manager or

monitor to prevent future FHA violations of the sort underlying

this action.       While the government’s proposed solution generally

aligns with the FHA’s remedial purpose, a carefully tailored remedy

should evaluate whether “less drastic remedies . . . could achieve

that goal.”    BMW of N. Am. v. Gore, 517 U.S. 559, 584 (1996).                   In

the court's opinion, this narrowly tailored remedy is preferable

to the government's request for an independent property manager.

Similar affirmative relief has historically been imposed in cases

where discrimination is part of an institutional policy, or deeply

embedded in the entity’s structure.           See West Peachtree, 437 F.2d

at   228   (implementing      affirmative     program    to      remedy   racially

discriminatory housing policy); see also Dayton Bd. of Educ. v.

Brinkman,    433    U.S.   406,   418-420    (1977)   (characterizing        lower

court’s sweeping integration plan as overbroad because segregation

policy has already ceased); Parma, 661 F.2d at 578-579 (rejecting

the necessity of a special master to oversee compliance with

municipality’s remedial plan). Although McCarthy owns Steps to

Solutions, McCarthy is ultimately one individual, and Steps to

Solutions    has    not    discernibly      adopted   McCarthy’s       course     of

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misconduct as its modus operandi.             The testimony of various house

managers confirms this.        Thus, this portion of the government’s

request is denied.

     Finally,     regarding      the    government’s          request      for      the

imposition of civil penalties, the court does not believe that

further civil penalties are necessary given the damages awarded,

even as reduced here.        This request therefore is denied.

     C. Conclusion

     In   light   of   the    foregoing,          the   defendant’s      motion     for

remittitur (D. 95) is granted in part and denied in part.                  Pursuant

to Fed. R. Civ. P. 59, the court remits the damages award from

$3,805,000 to $1,420,000 as set forth above.                 McCarthy now has the

choice of a new trial or acceptance of remittitur.                  McCarthy shall

inform the court by January 3, 2025 whether he seeks a new trial

on the issue of damages.          If not, judgment shall enter in the

amount of $1,420,000.

     As well, the government’s motion for injunctive relief and a

civil penalty (D. 97) is granted in part and denied in part.                        The

court declines to impose civil penalties but grants the following

injunctive relief:

     Defendant    Peter      McCarthy        is    permanently      enjoined      from

discriminating    against      others        based      on   sex    or    coercing,

intimidating, threatening, or interfering with the exercise of

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housing rights in violation of the FHA.       42 U.S.C. §§ 3601 et seq.

McCarthy is also permanently enjoined from engaging in direct

contact with current or prospective tenants.



So Ordered.                             /s/ Donald L. Cabell
                                        DONALD L. CABELL, U.S.M.J.

DATED:   December 26, 2024




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